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                           49013-2101    Filed 02/18/21 Page 1 of 11 PageID
                                      -CT-001160                               #: 4 9:18 AM
                                                                        Filed: 1/13/2021
                                                                                                                                       Clerk
                                                  Marion Superior Court 13                                            Marion County, Indiana




  STATE OF INDIANA                               IN THE MARION COUNTY SUPERIOR COURT
                                       )SS::
  COUNTY OF MARION                     )         CAUSE NO.:



  GEORGETOWN DENTAL, LLC,
                     Plaintiff
                                                                                                        Received
                              vs.
                                                                                                       JAN 19 2021
  THE CINCINNATI INSURANCE COMPANY and
  THE CINCINNATI CASUALTY COMPANY,                                                                 C. Ray - Legal Litigation
                       Defendants.


                                                    SUMMONS
           TO DEFENDANT:               The Cincinnati Insurance Company
                                       c/o Registered Agent: Jon Stowell
                                       101 West Washington Street, Suite 1100
                                       Indianapolis, Indiana 46204

           You are hereby notified that you have been sued by the person named as plaintiff and in the Court indicated
  above.
            The nature of the suit against you is stated in the Complaint which is attached to this Summons. It also states
 the relief sought or the demand made against you by the plaintiff.
            An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney
 within twenty (20) days, commencing the date after you receive this Summons, (or twenty-three (23) days if this
 Summons was received by mail), or a judgment by default may be rendered against you for the relief demanded by
 plaintiff.
            If you have a claim for relief against the plaintiff from the same transaction or occurrence, you must assert it
 in your written answer.
                                                                                                                           Co UN
 Dated 1/13/2021                                          'h.(. 6,.. Cc.              e)
                                                         --e
                                                         Clerk, Marion County Superior Court
           (The following manner of service of summons is hereby designated.)                                           SEAL
            X      Registered or certified mail.
                   Service at place of employment, to-wit:                                                                NDIASN
                   Service on individual — (Personal or copy) at above address.
                   Service on agent. (Specify)
                   Other service. (Specify)

 John F. Townsend, III                                   151 North Delaware Street, Suite 770, Indpls., IN 46204
 Attorney for Plaintiff                                  Address
                                                         (317) 264-4444




                                                                                                               EXHIBIT 1
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                                                                       Filed: 1/13/2021
                                                                                                                   Clerk
                                            Marion Superior Court 13                              Marion County, Indiana




  STATE OF INDIANA              )       IN THE MARION COUNTY SUPERIOR COURT
                                ) SS:
  COUNTY OF MARION              )       CAUSE NO.:


  GEORGETOWN DENTAL, LLC,

                                Plaintiff

                        vs.


  THE CINCINNATI INSURANCE COMPANY and
  THE CINCINNATI CASUALTY COMPANY,

                                Defendants.

                                 COMPLAINT FOR DAMAGES

         Comes now the Plaintiff, by counsel, and for it's cause of action against the Defendant,

  alleges:

         1.     At all times hereinafter mentioned Defendants' principal place of business in the

                State of Indiana was located in Indianapolis, Marion County, Indiana.

         2.     At all times hereinafter mentioned Defendants insured Plaintiff, a dental office, under

                a policy of insurance identified as Policy No. ECP 021 17 84. (See attached Exhibit

                1, Insurance Policy)

         3.    On February 24th, 2020 the United States Center for Disease Control and the

               American Dental Association suggested postponing non-emergency or elective dental

               procedures due to the presence of Covid-19 in the State of Indiana.




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        4.    On March 6', 2020 Indiana Governor Eric Holcomb issued Executive Order 20-02

              which declared a public health emergency in the State of Indiana and urged

              coordination of the entire healthcare infrastructure of Indiana to help prevent the

             spread of disease and to conserve and optimize the use of personal protection

              equipment.

        5.   On March 16', 2020 Indiana Governor Eric Holcomb issued Executive Order 20-04

             requiring the postponement of non-essential elective and non-urgent surgical

             procedures at hospital and ambulatory surgery centers.

        6.   On March 23, 2020 Indiana Governor Eric Holcomb issued Executive Order 20-08

             calling for Indiana residents to "stay at home" and further urged dental offices to use

             good judgment to avoid potentially contributing to cause the spread of Covid-19.

        7.   On March 30th, 2020 Indiana Governor Eric Holcomb ordered dentists to cancel or

             postpone elective and non-urgent procedures in Executive Order 20-13.

        8.   Indiana Governor Eric Holcomb issued Executive Order 20-22 allowing dentists to

             resume providing services as of 11:59 p.m. on Sunday, April 26th, 2020.

        9.   Executive Order 20-22 was subject to reevaluation every seven days and encouraged

             businesses to comply with social distancing requirements.

       10.   On April 24', 2020 Indiana Governor Eric Holcomb issued Executive Order 20-24

             allowing the resumption of elective and non-urgent medical procedures, "so long as

             they have adopted policies and best practices that protect patients, physicians and

             staff against Covid-19 and also have sufficient quantities of PPE."




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       11.   Executive Order 20-24 urged healthcare providers to, "consult the best practices and

             recommendations developed by their respective medical associations or industries,

             many of which can be found online."

       12.   As a result of the above guidelines and orders from the United States Center for

             Disease Control, American Dental Association and State of Indiana, Georgetown

             Dental was closed from March 12', 2020 to May 11th, 2020 and has also experienced

             significant periods of partial closure.

       13.   During the period when Georgetown Dental, LLC was closed or partially closed due

             to Covid-19 restrictions, Plaintiff sustained a loss of income. Plaintiff has also

             incurred various expenses in connection with the property and dental practice due to

             the Covid-19 pandemic.

       14.   The insurance policy at issue contains a "Building and Personal Property Coverage

             Faun" which states:

                    "We will pay for the direct 'loss' to Covered Property
                    at the 'premises' caused by or resulting from any
                    Covered Cause of Loss." (FM 101 05 16 at p.3.)

       15.   Closure of Georgetown Dental, LLC due to the Covid-19 pandemic resulted in a loss

             of Plaintiff's ability to use the covered property for the intended purpose of a dental

             practice and, therefore, Defendant is liable for Plaintiff's resulting damages pursuant

             to the terms of the policy as a "covered cause of loss".

       16.   The insurance policy at issue also contains "Business Income and Extra Expense"

             coverage. (FM 101 05 16 at pp.18-19, 21.)




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       17.   The Business Income Expense and Extra Expense Coverage provides Defendants, ".

             . . will pay for the actual loss of 'Business Income' and 'Rental Value' you sustain

             due the necessary 'suspension' of your 'operations' during the 'period of restoration'.

             The 'suspension' must be caused by direct 'loss' to property at a 'premises' caused

             by or resulting from any Covered Cause of Loss." (FM 101 05 16 at pp. 18-19, 21.)

       18.   The loss of business income and extra expenses incurred by Georgetown Dental,

             LLC due to closure caused by the Covid-19 pandemic is a covered loss under the

             Business Income and Extra Expense Coverage for which Defendant is liable.

       19.   There is a separate identical business income and extra expense coverage form

             elsewhere in the policy which further provides coverage to Georgetown Dental, LLC

             as a result of losses occasioned by the Covid-19 pandemic and the inability to use the

             premises for providing dental care. (FA 213 05 16 at 1-2.)

       20.   The insurance policy at issue also contains "Civil Authority" coverage which

             provides in relevant part, ". . . we will pay for the actual loss of 'Business Income'

             and necessary Extra Expense you sustain caused by action of civil authority that

             prohibits access to the 'premises' . ." . (FM 101 05 16 at pp. 19-21.)

       21.   Additionally, the policy provides separate civil authority coverage provisions in the

             "Business Income and Extra Expense" coverage form providing substantially the

             same or similar coverage. (FA 213 05 16 at pp. 2-3.)

       22.   The closure of Georgetown Dental, LLC resulting from the recommendations and

             orders of various civil authorities is a covered cause of loss for which Defendant is

             liable under the insurance policy.


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                  23.           Plaintiff requests the Court interpret the insurance policy as outlined above and issue

                                a declaratory judgment that the insurance policy at issue provides coverage for the

                                damages sustained by Plaintiff during the closure of the dental office due to the

                                Covid-19 pandemic.

                 24.           Plaintiff further requests the Court determine the amount of damages sustained by

                               Plaintiff and the amount of money owed to Plaintiff under the applicable insurance

                               policy.

                 WHEREFORE, Plaintiff prays for a declaratory judgment against the Defendant as to the

   coverage issue and a further judgment against the Defendant in an amount which will fully and fairly

   compensate it for it's injuries, damages, and losses, for the costs of this action, and for all other

   proper relief.

                                                                       Respectfully submitted,

                                                                       TOWNSEND & TOWNSEND, LLP



                                                                      /s/ John F. Townsend, UT
                                                                      John F. Townsend, NI - #19600-49
                                                                      151 North Delaware Street, Suite 770
                                                                      Indianapolis, Indiana 46204
                                                                      317-264-4444 Phone
                                                                      317-264-2080 Fax
                                                                      townsendlawfinn@aol.com
                                                                      Counselfor Plaintiff




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   STATE OF INDIANA                                IN THE MARION COUNTY SUPERIOR COURT
                                         )SS:
   COUNTY OF MARION                      )         CAUSE NO.:


   GEORGETOWN DENTAL, LLC,
                      Plaintiff

                               VS.


   THE CINCINNATI INSURANCE COMPANY and
   THE CINCINNATI CASUALTY COMPANY,
                        Defendants.

                                                   APPEARANCE
                                                       Initiating party

  1.        Georgetown Dental, LLC                                   2.
            Name of first initiating party                           Telephone of pro se initiating party

  3.        Attorney information (as applicable for service of process):

            Name: John F. Townsend, III                      Atty Number: 19600-49
            Address: TOWNSEND & TOWNSEND, LLP                Phone: (317) 264-4444
                   151 N. Delaware Street, Suite 770         Fax: (317) 264-2080
                   Indianapolis, IN 46204            Email:townsendlawfirm@aol.corn
                  (Counselfor Plaintiff; Georgetown Dental, LLC.)

  4.        Case Type requested: CT                                  5. Will accept FAX service: Yes                No X
                  [See Administrative Rule 8(b)(3)]

  6.        Social Security numbers of all family members in proceedings involving support issues.

  7.       Are there related cases? Yes                  No     X              If yes, list case number below:

  8.       Additional information required by state or local rule:


  Authority: Pursuant to Trial Rule 3.1(A), this form shall be filed at the time an action is commended. In emergencies, the
  requested information shall be supplied when it becomes available. Parties shall advise the court of a change in information
  previously provided to the court. Thisformat is approved by the Division of State Court Administration.




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